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                         IN THE UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION


  UMG RECORDINGS, INC., et al.,

                  Plaintiffs,

            v.
                                                     Case No. 8:19-cv-710-MSS-TGW
  BRIGHT HOUSE NETWORKS, LLC,

                  Defendant.


 DECLARATION OF NEEMA T. SAHNI IN SUPPORT OF PLAINTIFFS’ MOTION TO
     COMPEL FURTHER DISCOVERY RESPONSES AND PRODUCTION OF
                           DOCUMENTS

        I, Neema T. Sahni, hereby declare and state as follows pursuant to 28 U.S.C. § 1746:

        1.       I am a partner of the law firm Covington & Burling LLP, attorneys of record for

 Plaintiffs. I submit this declaration in support of Plaintiffs’ Motion to Compel Further Discovery

 Responses and Production of Documents (the “Motion”). I have personal knowledge of all facts

 stated in this declaration, and if called upon as a witness, I could and would competently testify

 thereto.

        2.       Attached hereto as Exhibit A is a true and correct copy of Plaintiffs’ First Set of

 Requests for Production (“RFPs”) served on Defendant Bright House Networks, LLC (“BHN”)

 on June 10, 2019.

        3.       Attached hereto as Exhibit B is a true and correct copy of Plaintiffs’ First Set of

 Interrogatories served on BHN on June 10, 2019.

        4.       Attached hereto as Exhibit C is a true and correct copy of BHN’s Objections and

 Responses to Plaintiffs’ First Set of Requests for Production dated July 10, 2019.
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        5.      Attached hereto as Exhibit D is a true and correct copy of BHN’s Objections and

 Responses to Plaintiffs’ First Set of Interrogatories dated July 10, 2019. BHN has yet to serve any

 verification for these responses.

        6.      Attached hereto as Exhibit E is a true and correct copy of letter I sent on behalf of

 Plaintiffs to BHN’s counsel on August 15, 2019, to meet and confer regarding deficiencies in

 BHN’s responses.

        7.      Attached hereto as Exhibit F is a true and correct copy of an August 27, 2019 letter

 BHN sent to Plaintiffs in response to Plaintiffs’ August 15, 2019 letter.

        8.      On September 9, 2019, the parties met and conferred in person regarding the

 deficiencies in BHN’s discovery responses. During those discussions, BHN’s counsel was not

 prepared to offer a reasonable resolution to correct many of these deficiencies. For example,

 BHN’s counsel would not agree to produce additional financial documentation during that

 meeting, but instead represented that they needed to first discuss the matter further with BHN to

 determine what kinds of financial information BHN had available. At that meet-and-confer,

 counsel represented that BHN was not a publicly-traded company that would be required to publish

 public financial statements, and yet committed only to produce public financial information. With

 regard to infringing subscriber revenue, Plaintiffs’ counsel explained during that call that Plaintiffs

 were seeking information comparable to the “ICOMS” financial reports produced by an ISP

 defendant (represented by the same counsel that represents BHN here) in a similar case, Sony v.

 Cox, Case No. 1:18-cv-950 (E.D. Va.) (“Cox”). Those discussions and the positions taken by BHN

 at that time were memorialized in a letter Plaintiffs sent to BHN on September 25, 2019, a true

 and correct copy of which is attached hereto as Exhibit G.




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         9.      Attached hereto as Exhibit H is a true and correct copy of an October 1, 2019 letter

 BHN sent to Plaintiffs in response to Plaintiffs’ September 25, 2019 letter.

         10.     Attached hereto as Exhibit I is a true and correct copy of an October 16, 2019 letter

 Plaintiffs sent to BHN in response to BHN’s October 1, 2019 letter.

         11.     The parties again met and conferred by phone on October 24, 2019. During that

 discussion, BHN appeared to agree that it would produce information pertaining to notices of

 copyright infringement that were not sent by Plaintiffs, so long as those notices identified

 subscribers that had been the subject of another notice sent by Plaintiffs. BHN also indicated a

 willingness to consider producing certain categories of documents dating back to 2010 or earlier.

 BHN’s counsel represented at that time that they were unsure what sort of “audited financials”

 their client might possess, but would look into determining what additional financial information

 BHN was willing to provide. During that conversation, BHN also refused to take a firm position

 on what further response, if any, it would agree to provide to Plaintiffs’ Interrogatory Nos. 10 and

 12.

         12.     The parties’ October 24, 2019 discussions were memorialized in an email Plaintiffs

 sent to BHN on October 26, 2019, detailing their understanding of the parties’ agreements and

 outstanding issues, a true and correct copy of which is attached hereto as Exhibit J.

         13.     Attached hereto as Exhibit K is a true and correct copy of an October 30, 2019

 email BHN sent to Plaintiffs in response to Plaintiffs’ October 26, 2019 email, indicating that BHN

 was still investigating several of Plaintiffs’ requests and even retreating from their earlier positions

 as to certain requests, particularly with respect to timeframe and scope of subscribers and

 infringement notices. Regarding financial information, this email stated that BHN’s counsel was




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 “actively investigating what our clients have with respect to subscriber-level financial data and

 audited financial records.”

         14.    Attached hereto as Exhibit L is a true and correct copy of a November 4, 2019

 email Plaintiffs sent to BHN in response to BHN’s October 30, 2019 email, further attempting to

 resolve the outstanding issues and requesting a response by the close of business on November 7,

 2019.

         15.    Attached hereto as Exhibit M is a true and correct copy of a November 7, 2019

 email BHN sent to Plaintiffs in response to Plaintiffs’ November 4, 2019 letter. With regard to

 financial information, this letter appeared to backtrack from BHN’s counsel’s prior representation

 they were investigating what information BHN had, and instead attempted to dispute the relevance

 of certain information, stating: “With respect to financial data, we fail to see the relevance of

 ‘audited’ financial statements, to the extent Defendants maintain them at all. Please let us know

 how ‘audited’ financials are relevant to this case.”

         16.    BHN has not yet produced any documents in this matter, despite previously

 representing that it would begin production during the month of October. BHN has also still not

 supplemented its prior interrogatory responses to designate any documents pursuant to Federal

 Rule of Civil Procedure 33(d).

         17.    Attached hereto as Exhibit N is a true and correct copy of an Order entered on

 August 21, 2018, in another copyright infringement litigation filed against another internet service

 provider, BMG Rights Mgmt. v. Cox Enterprises, Inc., No. 14-cv-1611, Dkt. 1018 (E.D. Va.).

         18.    On November 15, 2019, Plaintiffs produced to BHN copies of the Infringement

 Notices sent to BHN.




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         19.    Attached hereto as Exhibit O is a true and correct copy of an Order entered on

 November 19, 2019, in another copyright litigation filed against another internet service provider,

 Sony Music Entertainment v. Cox Communications, Inc., No. 18-cv-950-LO-JFA, Dkt. 590 (E.D.

 Va.).



         I declare under penalty of perjury under the laws of the United States of America that the

 foregoing is true and correct.



         Executed this 22nd day of November, 2019 in Los Angeles, California.



                                              /s/ Neema T. Sahni
                                              Neema. T Sahni




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